     Case 2:84-cr-00972-RMT Document 1337 Filed 09/11/19 Page 1 of 2 Page ID #:3247



 1    NICOLA T. HANNA
      United States Attorney
 2    PATRICK R. FITZGERALD
      Assistant United States Attorney
 3    Chief, National Security Division                     SEPT 11, 2019
      DAVID T. RYAN (Cal. Bar No.295785)
 4    Assistant United States Attorney
      Terrorism and Export Crimes Section                       BH
 5         1500 United States Courthouse
           312 North Spring Street
 6         Los Angeles, California 90012
           Telephone: (213) 894-4491
 7         Facsimile: (213) 894-2979
           E-mail:    david.ryan@usdoj.gov
 8
      Attorneys for Plaintiff
 9    UNITED STATES OF AMERICA

10                             UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12    UNITED STATES OF AMERICA,                No. CR 84-972-VAP

13               Plaintiff,                    [PROPOSED] ORDER GRANTING IN PART
                                               AND DENYING IN PART NON-PARTY
14                     v.                      FUGITIVE MEDIA’S REQUEST TO UNSEAL
                                               DOCUMENTS
15    RICHARD MILLER et al.,

16               Defendants.

17

18    For good cause shown, IT IS HEREBY ORDERED THAT:
19         Fugitive Media’s Request to Unseal Exhibits and Transcripts Or,
20    In The Alternative, View Sealed Documents, is GRANTED IN PART, as
21    follows:   The following documents are to be UNSEALED: Docket Numbers
22    133, 236, 241, 255, 257, 258, 259, 266, 328, 335, 631, 680, 1111,
23    1112, 1113, 1114, 1116, 1118, 1119, 1120, 1121, 1122, 1126, 1127,
24    1128, 1130, 1131, 1132, 1134, 1135, 1136, 1137, 1138, 1139, 1140,
25    1141, 1142, 1143, 1144, 1145, 1146, 1147, 1148, 1149, 1150, 1151,
26    1152, 1153, 1154, 1155, 1157, 1159, 1161, 1162, 1163, 1165, 1166,
27    1167, 1168, 1169, 1170, 1171, 1172, 1173, 1174, 1175, 1176, 1177,
28    1178, 1179, 1180, 1181, 1182, 1183, 1184, 1185, 1186, 1187, 1188,
     Case 2:84-cr-00972-RMT Document 1337 Filed 09/11/19 Page 2 of 2 Page ID #:3248



 1    1189, 1190, 1191, 1192, 1193, 1194, 1195, 1196, 1198, 1199, 1200,

 2    1201, 1202, 1203, 1204, 1205, 1206, 1207, 1208, 1209, 1210, 1211,

 3    1212, 1213, 1214, 1215, 1216, 1217, 1218, 1219, 1220, 1221, 1222,

 4    1223, 1224, 1225, 1226, 1227, 1228, 1229, 1231, 1233, 1235, 1237,

 5    1238, 1239, 1240, 1241, 1242, 1243, 1246, 1249, 1250, 1251, 1253,

 6    1254, 1255, 1259, 1260, 1261, 1262, 1263, 1264, 1265, 1275, 1277,

 7    1285, 1286, 1287, 1288, 1290, 1291, 1292, 1293, 1300, 1301, 1307,

 8    1311, 1313,    1267, 1268, 1289, 1303, 1310, 1314, 1315.

 9         Fugitive Media’s Request to Unseal Exhibits and Transcripts Or,

10    In The Alternative, View Sealed Documents, is DENIED IN PART, as

11    follows: All other documents previously ordered sealed in this case

12    are to REMAIN SEALED.

13

14     September 11, 2019
       DATE                                   THE HONORABLE VIRGINIA A. PHILLIPS
15                                            UNITED STATES DISTRICT JUDGE
16
      Presented by:
17
       /s/
18     DAVID T. RYAN
       Assistant United States Attorney
19

20

21

22

23

24

25

26

27

28
